                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 JILL LEPORE

                Petitioner,                          Miscellaneous Action No. 18-mc-91539-ADB

 v.

 UNITED STATES OF AMERICA,

                Respondent.




      MEMORANDUM IN OPPOSITION TO GOVERNMENT’S MOTION TO DISMISS

                                PRELIMINARY STATEMENT

        Contrary to the government’s contentions, this Court has inherent supervisory authority

to disclose grand jury records and should exercise that authority to disclose the historically

significant records sought by Professor Lepore. Neither Federal Rule of Criminal Procedure 6(e)

nor the common law limit this Court’s authority to disclose grand jury matters. Rule 6(e) has not

displaced the traditional discretion of district courts in these circumstances, and the relevant

common law test laid out in In re Petition of Craig, 131 F.3d 99, 106 (2d Cir. 1997), weighs

heavily in favor of disclosure in this case. The records of grand juries convened in 1971 to

investigate the release of the Pentagon Papers undisputedly chronicle an episode of great

historical significance, and none of the rationales for grand jury secrecy offered up by the

government remotely apply to the present facts. Disclosure is both permissible and proper. This

Court should pull back the curtain of secrecy that currently shields these historic records from

scholarly analysis.
                                            ARGUMENT

I.     THIS COURT POSSESSES INHERENT AUTHORITY TO DISCLOSE THE
       GRAND JURY RECORDS REQUESTED BY PROFESSOR LEPORE

       Courts have inherent authority over their own records, including grand jury records, and

that authority includes the discretion to disclose them. It is therefore within this Court’s power

to disclose the records of the 1971 Pentagon Papers grand juries.

       The government notes that the Constitution does not assign the grand jury to either the

executive or the judicial branch, see ECF No. 31 at 4, but it elides that the Supreme Court for

more than a century has recognized that the grand jury conducts a “judicial inquiry,” Hale v.

Henkel, 201 U.S. 43, 66 (1906) (rev’d on other grounds, Murphy v. Waterfront Com’n of New

York Harbor, 378 U.S. 52 (1964)), and is “part of the judicial process.” Cobbledick v. U.S., 309

U.S. 323, 327 (1940). The advent of the Federal Rules of Criminal Procedure (FRCP) in 1946

did not change the Court’s view; it has continued to hold consistently that the grand jury “is an

arm of the court,” Levine v. U.S., 362 U.S. 610, 617 (1960), and acts under “judicial auspices.”

U.S. v. Williams, 504 U.S. 36, 47 (1992).

       Since the grand jury is a “part of the judicial process,” the records produced by a grand

jury are judicial records. The Supreme Court has left no doubt that grand jury “minutes and

transcripts” are “records of the court.” U.S. v. Procter & Gamble Co., 356 U.S. 677, 684-85

(1958) (Whittaker, J., concurring). Four Circuit Courts of Appeal have squarely reached the

same conclusion. See, e.g., Carlson v. U.S., 837 F.3d 753, 758 (7th Cir. 2016) (grand jury

“minutes and transcripts are necessarily records of the court”) (citations & internal quotation

marks omitted); Standley v. Dep't of Justice, 835 F.2d 216, 218 (9th Cir. 1987) (“Grand jury

materials are records of the district court”); In re Grand Jury Investigation of Cuisinarts, Inc.,

665 F.2d 24, 31 (2d Cir. 1981) (“[G]rand jury proceedings remain the records of the courts, and


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courts must decide whether they should be made public”); United States v. Penrod, 609 F.2d

1092, 1097 (4th Cir. 1979) (grand jury minutes “are not the property of the attorneys or agents of

the government” but rather “are records of the court”); but see, McKeever v. Barr, 920 F.3d 842,

848 (2019) (questioning whether Rule 6(e)’s reference to “‘a matter appearing before the grand

jury’” refers “to a ‘judicial record’”).

        Just as “[e]very court has supervisory power over its own records and files,” Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978), “the court that supervised the grand jury” has

“control over the transcripts.” Douglas Oil Co. of Cal. v. Petrol Stops Nw., 441 U.S. 211, 225

(1979). This is true even when, as is the case here, the grand jury records are stored at the

National Archives and Records Administration (NARA). Carlson, 837 F.3d 753 at 759

(explaining that “Rule 6(e)(1) . . . indicates that the grand jury materials are subject to the court’s

control” despite their being stored at NARA). As the Supreme Court made clear before

implementation of the FRCP in 1946, once “the grand jury’s functions are ended” disclosure of

grand jury testimony “is wholly proper where the ends of justice require it” and “is a matter

which rests in the sound discretion of the court.” U.S. v. Socony-Vacuum Oil Co., 310 U.S. 150,

233-34 (1940). Absent an express statutory restriction on that discretion, a court may order the

disclosure of a grand jury record just like any other judicial record. As discussed in the initial

motion papers and in Point II below, no such restriction prohibits the release of the records

requested by Professor Lepore, and their unique historical significance warrants their disclosure.

        The government notes that there are restrictions on the power of district courts to

interfere with ongoing grand jury proceedings, ECF No. 31 at 3-4, but the cases it cites are

entirely inapposite. They address attempts to alter fundamentally the nature of the grand jury or

to exert de facto control over the process in ways expressly forbidden by statute or the common



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law. In Williams, the Supreme Court held that courts could not impose a legal obligation on

prosecutors to present exculpatory evidence to the grand jury, 504 U.S. at 52, because doing so

would “alter the grand jury’s historical role, transforming it from an accusatory to an

adjudicatory body.” Id. at 51. The First Circuit later applied Williams in a case where the

district court had postponed the start of a criminal trial as it investigated, “over a protracted

period of time,” its suspicions that prosecutors had eavesdropped on a grand jury and leaked

grand jury material to the media. In re U.S., 441 F.3d 44, 48-49 (1st Cir. 2006). Quoting

Williams, the First Circuit noted that a district court’s power to “remedy misconduct” was

limited to situations in which that conduct violated one of the “few, clear rules which were

carefully drafted and approved by [the Supreme] Court and by Congress to ensure the integrity

of the grand jury’s functions.” Id. at 57 (internal quotation marks omitted).

       Professor Lepore’s petition does not present remotely similar concerns regarding

interference with the fundamental nature of grand juries, or with prosecutors’ latitude in

conducting them. It simply asks this Court to exercise, consistent with Supreme Court

precedent, its discretionary authority over grand jury records.

II.    THE GOVERNMENT FAILS TO ESTABLISH ANY BAR TO EXERCISING THE
       COURT’S INHERENT POWER TO DISCLOSE THE RECORDS SOUGHT BY
       PROFESSOR LEPORE

       Neither the FRCP nor the common law counsel against releasing the records at issue.

The government argues that Rule 6 bars any discretionary disclosure, but a full reading of the

Rule demonstrates no such thing; its secrecy provisions do not apply to courts and do not purport

to supplant their inherent authority over grand jury records. The government is on no more solid

ground in pointing to Supreme Court cases emphasizing the importance of grand jury secrecy.

Neither the holdings of those cases nor their underlying rationale apply to the release of decades-

old grand jury material of potentially immense historic significance. Rather, the relevant legal
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standard governing the release of such historically significant grand jury records was established

by In re Petition of Craig and applied in Carlson v. United States. Professor Lepore’s petition

easily passes the Craig test and this Court ought to exercise its discretion to release the

historically significant records she seeks.

         A.       Rule 6(e) Does Not Preclude Disclosure Here

         Rule 6(e) does not restrict this Court’s authority to grant Professor Lepore’s petition

because that rule, by its plain language, imposes no obligation of secrecy on district courts.

While the FRCP supersede courts’ inherent authority on the matters they address (see, e.g., Bank

of Nova Scotia v. U.S., 487 U.S. 250, 254-55 (1988); Carlisle v. U.S., 517 U.S. 416, 426 (1996)),

they do not restrict courts’ authority on matters where they are silent.

         Rule 6(e)(2)(B) provides an exhaustive list of “persons” who “must not disclose a matter

occurring before the grand jury” and this list does not include judges or the courts. As the Sixth

Circuit has noted, Rule 6(e) “applies only to grand jurors; interpreters; court reporters; operators

of recording devices; persons transcribing recorded testimony; attorneys for the government; and

. . . government personnel . . . The rule imposes no obligation of secrecy on persons or entities

that are not included on that list.” Dassault Systemes, SA v. Childress, 663 F.3d 832, 846–47

(6th Cir. 2011). This interpretation of the Rule is necessitated by its plain language. Rule

6(e)(2)(A) makes clear that “[n]o obligation of secrecy may be imposed on any person except in

accordance with Rule 6(e)(2)(B).” Since courts and judges are not listed in Rule 6(e)(2)(B) they

are not obligated to secrecy by the FRCP.1


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  This explicit limitation on the secrecy obligations has always been a part of the FCRP. Before 2002, Rule 6(e)(2)
read: “A grand juror, an interpreter, a stenographer, an operator of a recording device, a typist who transcribes
recorded testimony, an attorney for the government, or any person to whom disclosure is made under paragraph
(3)(A)(ii) of this subdivision shall not disclose matters occurring before the grand jury, except as otherwise provided
for in these rules. No obligation of secrecy may be imposed on any person except in accordance with this rule. A
knowing violation of Rule 6 may be punished as a contempt of court.” Fed. R. Crim. P. 6(e)(2) U.S.C.A. (2001).
Rule 6(e)(2) was split into two sections when the law was amended in 2002 to make the specific scope of the

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        This omission of courts from Rule 6(e)(2)(B) is especially meaningful when placed in

broader context. The FRCP include frequent references to “the court,” prescribing limitations on

what it must, may, and must not do. See, e.g., Fed. R. Crim. P. 6(a)(1) (“court must order that

one or more grand juries be summoned”); Fed. R. Crim. P. 6(a)(2) (“court may also select

alternate jurors”); Fed. R. Crim. P. 11(c)(1) (“court must not participate” in negotiations on a

plea agreement). The absence of any reference to “the court” in Rule 6(e)(2)(B) is conspicuous.

The Rule’s secrecy obligation simply has no application to courts. Therefore, the government’s

observation that Rule 6(e)’s secrecy provisions apply “[u]nless these rules provide otherwise,”

ECF No. 31 at 7, is irrelevant. Nor does it matter that the disclosure contemplated here is not

explicitly listed in Rule 6(e)(3)(E)—the absence of a germane exception to a Rule that does not

apply in the first place is simply immaterial.

        The government’s extensive reliance on the D.C. Circuit’s opinion in McKeever v. Barr

is also misplaced because that case erroneously sees physical custody as the key determinant of

who controls grand jury records. According to the McKeever court, “Rule 6 assumes the records

are in the custody of the Government, not that of the court,” and therefore “[b]ecause an

‘attorney for the government’ is one of the ‘persons’ subject to grand jury secrecy in Rule

6(e)(2)(B), the Rule need not also list the district court as a ‘person’ in order to make the court,

as a practical matter, subject to the strictures of Rule 6.” McKeever, 920 F.3d at 842. This

reasoning cannot be squared with either the plain text of Rule 6(e) or with the rest of the FRCP.

        The practical question of who maintains custody of grand jury records has no effect on

who is (and is not) bound by Rule 6(e)’s secrecy requirement. The court and the government are




secrecy obligation “more easily understood.” See Fed. R. Crim. P. 6 advisory committee's note to the 2002
amendment.

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not the same, irrespective of where grand jury records are housed. Rule 11(c)(1) makes just this

point. It references both an “attorney for the government” and “the court,” making clear that

they are independent actors with separate roles and obligations. See Fed. R. Crim. P. 11(c)(1). It

follows that if Congress in Rule 6(e) wished to impose an obligation of secrecy on “the court,” it

would have done so. It did not.

       Moreover, even if Rule 6(e) were read to “assume[] the records are in the custody of the

Government,” McKeever, 920 F.3d at 848, it would not follow that the Rule conflates custody

over records with the authority (or lack thereof) to disclose them. This, too, is made clear by the

text of Rule 6(e): an “attorney for the government will retain control” of grand jury records

“[u]nless the court orders otherwise.” Fed. R. Crim. P. 6(e)(1) (emphasis added). Under Rule

6(e), even records in the custody of government attorneys must be returned to the district court’s

custody upon the district court’s order. Simply put, the notion that “courts” did not need to be

expressly bound by Rule 6(e) secrecy because government attorneys hold grand jury records

cannot be reconciled with the language of Rule 6(e) itself.

       Nor does a straightforward reading of the Rule’s text “render the detailed list of

exceptions merely precatory.” ECF No. 31 at 7-8 (quoting McKeever, 920 F.3d at 845). Any

disclosure ordered by a court that directly contravened one of Rule 6(e)(3)(E)’s enumerated

exceptions would violate the Rule and constitute an abuse of discretion. For example, Rule

6(e)(3)(E)(i) permits a court to authorize disclosure of a grand-jury matter “preliminarily to or in

connection with a judicial proceeding.” In interpreting that Rule, then located at Rule

6(e)(3)(C)(i), the Supreme Court held that “disclosure is not appropriate for use in an IRS audit

of civil tax liability.” U.S. v. Baggot, 463 U.S. 479, 480 (1983). Thus, if a district court—

relying on its inherent authority rather than on Rule 6(e)(3)(E)(i)—ordered the disclosure of



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grand jury records to the IRS for the purposes of an audit it would be impermissibly

circumventing a Rule. This is just one example of many in which Rule 6(e)(3)(E) maintains

restrictions that are far from precatory.

       It is for this reason that the government’s parade of horribles is without merit. See ECF

No. 31 at 8. By way of example, the government warns that the analysis in U.S. v. Pimental, 380

F.3d 575 (1st Cir. 2004), about whether investigators within the Massachusetts Insurance Fraud

Bureau qualified as “government personnel” for purposes of Rule 6(e)(3)(A)(ii), “would be

entirely academic if a district court could always simply authorize disclosure by invoking

inherent power.” ECF No. 31 at 8. This is not so. The list of exceptions in Rule 6(e)(3)(E)

embodies policy judgements that expressly permit and prohibit specific types of disclosure, but

do not purport to abolish the court’s inherent authority to disclose in other contexts. See Link v.

Wabash R.R. Co., 370 U.S. 626, 631 (1962) (“Neither the permissive language of [Rule 41(b)] . .

. nor its policy requires us to conclude that it was the purpose of the Rule to abrogate the power

of courts” (emphasis added)). Courts cannot simply invoke their inherent authority to contradict

Rule 6(e) as the government suggests, but rather must comply with the contours of the Rule’s

exceptions in cases like Pimental.

       Conversely, nothing in the text of Rule 6(e)(3)(E) prohibits courts from using their

inherent authority where it is not expressly constrained. In fact, the Advisory Committee on

Criminal Rules has suggested the opposite.

               1.      The Advisory Committee on Rules of Criminal Procedure has
                       recognized the responsible exercise by district courts of their inherent
                       authority to release grand jury records of historical significance

       The government finds it “telling that no prior amendment to Rule 6(e) was prompted by

the invention by courts of a new exception to grand jury secrecy on the scale proposed by

Petitioner.” ECF No. 31 at 12. It is telling, but for a different reason than the government
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contends—the decision not to amend Rule 6 was motivated by a recognition that courts already

possess the inherent authority to unseal historically significant grand jury records and have been

exercising that authority responsibly for years.

           In 2011, after the Second Circuit in Craig recognized courts’ inherent authority in this

area, Attorney General Eric Holder responded by proposing an amendment to Rule 6 which

would have codified that authority in the FRCP. In deciding not to pursue the Attorney

General’s proposal, the Advisory Committee concluded that “in the rare cases where disclosure

of historically significant materials had been sought, district judges had reasonably resolved

applications by reference to their inherent authority.” Advisory Comm. on Crim. Rules, Minutes

7 (Apr. 2012).2 The robust legal and policy analysis undergirding that conclusion strongly

supports the proposition that this Court has the inherent authority to release historically

significant grand jury records. See Advisory Comm. on Crim. Rules, Agenda Book 209-71 (Apr.

2012) (“Agenda Book”).3

           Nor is the government correct in denying that “exceptions to Rule 6(e) generally have

developed through conformance of Rule 6 to the developments wrought in decisions of the

federal courts, not vice versa.” ECF No. 31 at 10 (citation & internal quotation marks omitted).

In response to a request from the Rule 6 Subcommittee, Professors Sara Sun Beale and Nancy

King, the Advisory Committee’s Reporters, noted that

                [T]he previous administrative precedents of the Advisory Committee
                include three instances in which the Committee’s attention was drawn to
                decisions authorizing disclosures that may not have been provided for in
                the rules. In none of these cases did the Advisory Committee treat these
                judicial decisions as improper. In one instance, the Committee appears to
                have relied on the existence of judicial authority to order disclosure in
                exceptional cases as one of the justifications for declining to amend Rule

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    Available at https://www.uscourts.gov/sites/default/files/fr_import/criminal-min-04-2012.pdf.
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    Available at https://www.uscourts.gov/sites/default/files/fr_import/CR2012-04.pdf.

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            6(e), and in the other two instances the Committee recommended
            amendments incorporating what it discerned to be a trend in the case law.

Agenda Book 212. See also id. at 267-270 (discussing developments in Rule 6(e)’s history

occurring in 1974, 1976, and 1983).

               2.      The First Circuit has held that courts retain inherent authority to act
                       outside the bounds of Rule 6(e)

       While the First Circuit has never squarely addressed the question “of whether a court has

inherent authority to disclose grand jury material for reasons other than those listed in Fed. R.

Crim. P. 6(e)(3),” ECF. No. 31 at 3, it has held more broadly that “[Rule 6(e)]’s phrasing can,

and should, accommodate rare exceptions premised on inherent judicial power.” In re Grand

Jury Proceedings, 417 F.3d 18, 26 (1st Cir. 2005). That case pertained to the imposition of a

secrecy order on a person not listed at Rule 6(e)(2)(B), namely a witness who had “suborned

perjury of a [separate] witness in a related grand jury proceeding.” Id. In attempting to

distinguish that case from this one, the government contends that “[a]n inherent power to prevent

disclosure to protect a grand jury proceeding is a far cry from asserted authority to disclose grand

jury materials in circumstances not permitted by Rule 6(e).” ECF No. 31 at 9. This is wrong for

two reasons, which also fortify why McKeever is not good law in this Circuit.

       First, In re Grand Jury Proceedings acknowledges the continuing authority of district

courts to act outside the boundaries of Rule 6. In that case the First Circuit upheld a restriction

on the disclosure of grand jury material by a person not expressly identified in Rule 6(e)(2)(B),

despite the provision in Rule 6(e)(2)(A) that “[n]o obligation of secrecy may be imposed on any

person except in accordance with Rule 6(e)(2)(B).” The First Circuit found that courts may

invoke their inherent authority to contravene the literal wording of Rule 6(e). See 417 F.3d at 26.

It follows a fortiori that courts may exercise their inherent authority in ways that do not

contravene the literal wording of the Rule. Simply put, in holding that courts have the authority

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to impose secrecy restrictions beyond those imposed by Rule 6(e), the First Circuit necessarily

recognized courts’ authority to act where Rule 6(e) is silent.

       Second, the scope of inherent authority recognized in In re Grand Jury Proceedings

includes authority to disclose grand jury material. The First Circuit noted that “[t]hose who

drafted and approved Rule 6(e) seemingly intended to do no more than abolish a general practice

existing in some districts of automatically silencing grand jury witnesses as to their testimony.”

In re Grand Jury Proceedings, 417 F.3d at 18. The court then supported its holding by quoting

the Eleventh Circuit’s observation that, “[a]lthough Rule 6(e)(3) enumerates the exceptions to

the traditional rule of grand jury secrecy[,] . . . the district courts have inherent power beyond the

literal wording of Rule 6(e)(3) to disclose grand jury material.” Id. at 26 n.9 (quoting United

States v. Aisenberg, 358 F.3d 1327, 1347 (11th Cir. 2004) (emphasis added)).

       In short, nothing in Rule 6(e) prohibits this court from exercising its inherent authority to

disclose the historically significant records sought by Professor Lepore.

       B.      The Common Law Favors Disclosure of the Records Sought by Professor
               Lepore

       This Court should evaluate Professor Lepore’s petition under the rigorous standard courts

have developed for determining when the disclosure of historically significant grand jury records

is warranted. See ECF No. 3 at 10-11. Under that exacting test, the records at issue here should

clearly be disclosed—they are of uncontested historical significance, Professor Lepore is

uniquely positioned to convey their significance to other scholars and to the public, and there is

no countervailing interest in continued secrecy. The government makes no claim to the contrary.

       In Craig, the Second Circuit articulated nine factors for trial courts to “consider when

confronted with these highly discretionary and fact-sensitive ‘special circumstances’ motions.”

Craig, 131 F.3d at 106. Circuits that have acknowledged the inherent power of courts to disclose


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historically significant grand jury matters have adopted the Craig factors as the appropriate test

for determining when to exercise that power. See, e.g., Carlson, 837 F.3d at 766-67 (reviewing

the district court’s Craig analysis for abuse of discretion); Pitch v. United States, 915 F.3d 704,

710-13 (11th Cir. 2019) (engaging in Craig analysis), vacated pending rehearing en banc ---

F.3d ---- (11th Cir. 2019). This Court should do the same.

               1.      The “particularized need” test emphasized by the government is the
                       wrong standard to apply in this case

       Conceding the historical significance of the records at issue and that seven of the nine

Craig factors favor disclosure, the government argues that the request should simply be rejected

as too broad. This contention wrongly conflates two distinct legal tests. The government

stresses a line of cases that developed a “particularized need” test for evaluating requests for

grand jury records (see, e.g., ECF No. 31 at 5-6, 8), but those cases address an entirely different

set of factual and legal questions and the test they apply has no relevance here.

       The “particularized need” test was developed to address situations where grand jury

records are requested because they may be useful in a separate legal or administrative

proceeding. The Supreme Court has made it clear that private, federal, and state litigants may

not use grand juries as a shortcut to obtaining records and information otherwise available to

them through legal or administrative processes. The “particularized need” test had its genesis in

United States v. Procter & Gamble Company, in which the Supreme Court held that a private

litigant was not entitled to receive grand jury material as a substitute for obtaining the same

information via the established processes of civil discovery. See U.S. v. Procter & Gamble Co.,

356 U.S. 677, 681-84 (1958). In Douglas Oil the Court laid out a three-part test, the first prong

of which requires a demonstration that the material sought “is needed to avoid a possible

injustice in another judicial proceeding.” Douglas Oil, 441 U.S. at 225.


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        As the test’s origins make clear, it does not apply to Professor Lepore’s petition for at

least two reasons. First, the particularized need test applies to situations where litigants are

pursuing grand jury material as an end-run around an established procedure for obtaining the

same or similar information. In Douglas Oil a private party engaged in civil litigation was

seeking to circumvent the civil discovery process. See Douglas Oil, 441 U.S. at 216. In United

States v. Sells Engineering, Department of Justice civil attorneys attempted to acquire grand jury

materials through an automatic disclosure under Rule 6(e)(3)(A), rather than by demonstrating a

particularized need under Rule 6(e)(3)(E) (then located at Rule 6(e)(3)(C)). See U.S. v. Sells

Engineering, Inc., 463 U.S. 418, 442 (1983). And, in Illinois v. Abbott, the Attorney General of

Illinois asserted that he was entitled to grand jury material pursuant to a federal antitrust statute,

and therefore did not have to make a showing under Rule 6(e). See Illinois v. Abbott & Assocs,

Inc., 460 U.S. 557, 559-61 (1983).

        Here, by contrast, Professor Lepore is interested in the grand jury records themselves, for

their unique historical significance. She is pursuing the only option available for obtaining them

and cannot properly be turned away on the grounds that a different and more appropriate legal or

administrative process is available.

        Second, the secrecy interests at stake in “particularized need” cases are inherently very

high, whereas the secrecy interest here is minimal or non-existent. The “particularized need”

cases cited by the government occurred in the context of ongoing legal proceedings ancillary to

the grand jury investigations themselves. These are the circumstances—attempts to use ongoing

or recently-concluded grand juries as clearinghouses for information about a grand jury target

that might be used against that target in a separate proceeding—in which the interest in grand

jury secrecy is at its apex.



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       On the other hand, Professor Lepore’s petition implicates none of the policy rationales for

grand jury secrecy, such as “encourag[ing] witnesses to testify fully and frankly, minimiz[ing]

the risk of flight, protect[ing] grand jurors from pressure and influences, and secur[ing] the

privacy of accused who are later exonerated.” ECF. No. 31 at 5 (citing Douglas Oil, 41 U.S. at

218-19; In re U.S., 441 F.3d at 61). The grand juries at issue here ceased their work over 45

years ago, and the government makes no plausible argument that a decision to disclose half-

century-old records concerning one of the most publicized political incidents in American history

would somehow influence witnesses in future grand jury proceedings. See ECF No. 3 at 17

(citing In re Am. Historical Ass’n, 49 F. Supp. 2d 274, 292 (S.D.N.Y. 1999) (emphasizing that

time-delayed disclosures of historically important records have an insignificant inhibiting effect

on witnesses); In re Kutler, 800 F. Supp. 2d 42, 49 (D.D.C. 2011) (same)). Moreover, while the

government invokes the general principle that “the privacy of accused who are later exonerated”

should be protected (see ECF No. 31 at 2) it makes no suggestion that this principle is actually

put at risk by Professor Lepore’s petition. The public record suggests the opposite. Daniel

Ellsberg, the primary target of the government’s sprawling investigation into the Pentagon

Papers incident, supports Professor Lepore’s petition, as do several others who found themselves

drawn into the Boston grand jury proceedings. See ECF No. 5-12.

       What’s more, the government’s reliance on Pittsburgh Plate Glass Company v. United

States fails to fully explain the Court’s reasoning or holding in that case, which reaffirmed

judicial discretion rather than cabined it. In Pittsburgh Plate the Court noted in passing that

             any disclosure of grand jury minutes is covered by [Rule] 6(e). . . . In
            fact, the federal trial courts as well as the Courts of Appeals have been
            nearly unanimous in regarding disclosure as committed to the discretion
            of the trial judge. Our cases announce the same principle, and Rule 6(e)
            is but declaratory of it.



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Pittsburgh Plate Glass Co. v. United States, 360 U.S. 395, 398–99 (1959). Read in isolation

there is an apparent contradiction between the suggestion that “any” disclosure is covered by

Rule 6(e), and the immediately following statement that reaffirms the discretion of trial courts.

But when the Court noted that Rule 6(e) covers “any” disclosure of grand jury records it was not

hemming in trial courts. Rather, it was rejecting a claim that a recently-passed statute and a

previous Supreme Court holding overrode the FRCP and the discretion of trial courts, and

mandated the disclosure of grand jury material in certain circumstances. See id. at 398. Thus,

the Court in Pittsburgh Plate was defending judicial discretion in the face of legal and statutory

interpretations that were argued to undermine it. This Court should similarly refuse to abandon

its discretion without sufficient justification. See Chambers v. NASCO, Inc., 501 U.S. 32, 47

(1991) (the Court will not “lightly assume a Rule is intended to diminish the “scope of a court’s

inherent power” (citation omitted); Link v. Wabash R.R. Co., 370 U.S. 626, 630 (1962)

(permissive rules do not “abrogate the power of the courts” to exercise “internet power” in the

absence of a contradictory rule).

               2.      The exceptional circumstances in this case weigh in favor of disclosure

       The government offers no response on seven Craig factors. Nor could it. Jill Lepore is

an eminent historian and author seeking disclosure of historically significant grand jury records

for the purpose of improving the public’s understanding of a watershed moment in American

history. These investigations, targeting academics and dissidents alike, concluded nearly fifty

years ago. And, as the government acknowledges, “[Samuel] Popkin has submitted a declaration

in support of the petition” as “have various others who had ties to those and similar

proceedings.” ECF. No. 31 at 2.

       In totality, the Craig factors weigh heavily in favor of disclosure. See ECF No. 3 at 10-

19 (discussing all nine Craig factors). Not only are the facts in this case unique and compelling
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in their significance, but the government offers no reason why these particular records ought to

remain secret. The time has come to pull back the curtain of secrecy surrounding these

historically significant records and grant Professor Lepore’s request.

               3.      The government offers two counterarguments, both of which fail to
                       override the exceptional circumstances in this case

       The government makes two arguments against disclosure under the Craig factors. One

argument discusses the fourth factor, which asks “what specific information is being sought for

disclosure,” 131 F.3d at 106, and the other concerns the seventh factor, “the extent to which the

desired material—either permissibly or impermissibly—has been previously made public.” Id.

       Turning first to the seventh factor, the government says “it is . . . significant that at least

some of the specific information sought by Petitioner—namely the Popkin testimony—has

already been publicly aired.” ECF No. 31 at 15. It is indeed significant, but the government gets

the seventh factor backwards. As the Second Circuit has explained, “the extent to which the

grand jury material in a particular case has been made public is clearly relevant because even

partial previous disclosure often undercuts many of the reasons for secrecy.” Craig, 131 F.3d at

106.

       Instead of relying on Craig, which it otherwise accepts, the government cites U.S. v.

Aisenberg, 358 F.3d at 1352, for the proposition that disclosure orders are improper in cases

where the government’s conduct has already been made public. ECF No. 31 at 15. This reliance

is misplaced for two reasons.

       First, in addressing a disclosure request made pursuant to both Rule 6(e)(3)(C)(i)(I) (now

Rule 6(e)(3)(E)(i)) and the district court’s inherent authority, Aisenberg improperly conflated the

“particularized need” standard of Douglas Oil with the Craig analysis. See Aisenberg, 358 F.3d

at 1347-48. As discussed above, the particularized need analysis is not appropriate here given


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the absence of an alternative process for disclosure and the minimal privacy interests at stake,

and it is the Craig standard alone that governs. The government argues that applying the Craig

standard would “not make sense” because it would hold parties seeking disclosure pursuant to an

enumerated exception under Rule 6(e)(3)(E) to a “higher standard than those . . . who seek a

disclosure that is not contemplated by the rules.” ECF No. 31 at 14 n.2. This argument confuses

higher standards with different standards. As the Second Circuit made clear:

            The burden [on Petitioner], though greater when the issue, as in the case
            before us, involves the exercise of discretion outside the bounds of Rule
            6(e), is equally contextual. The greater burden is just one reason why
            petitioner’s contention that the district court failed to conduct the test
            “prescribed” by Douglas Oil cannot stand. . . . A more lenient test
            appropriate for Rule 6(e) cases cannot simply be applied to non–6(e) cases
            as well. That is why we use the label “special circumstances” for cases
            outside of Rule 6(e).

Craig, 131 F.3d at 106 n.10. Thus, the “special circumstances” analysis the Court should apply

here imposes a greater burden than the traditional test.

       Contrary to the government’s concerns, the Craig test is applied with appropriate

deference to the principles of grand jury secrecy. As the Second Circuit noted in Craig, the

“baseline presumption against disclosure,” ensures that “permitting departures from Rule 6(e) . .

. will not unravel the foundations of secrecy upon which the grand jury is premised.” Craig, 131

F.3d at 103-4. Rather, such inherent authority is “fully consonant with the role of the

supervising court.” Id.; see also Carlson, 837 F.3d at 762 (explaining that a court’s “limited

inherent supervisory power has historically included the discretion to determine when otherwise

secret grand-jury materials may be disclosed”).

       Second, the facts in Aisenberg are not comparable to the facts in this case. Aisenberg

dealt with a request intended to expose a “bad faith prosecution.” 358 F.3d at 1352. The facts

surrounding that prosecution, though, had “been publicly aired at great length.” Id. Thus, as the


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court explained, the petitioners in that case had “not shown a compelling and particularized need

for any portions of the grand jury transcripts . . . Indeed, the overwhelming nature of this

evidence apparently led even the government to move to dismiss the indictment and to concede

that attorney's fees were owed.” Id. at 1350-51. In other words, the Aisenbergs did not need the

disclosure of grand jury material to achieve their ends. This underscores, again, that the

particularized need test does not apply to requests for historically-significant grand jury records.

That some information about the Pentagon Papers grand juries is already public demonstrates the

minimal or non-existent secrecy interest at stake; it does not undermine the substantial historic

interest in disclosure. The fragmentary public record, or the opportunity to ask elderly people to

recall events from half a lifetime ago, are not substitutes for providing a historian with access to

primary sources relevant to her work and to American history more generally.

       Applying the fourth factor, the government argues that Professor Lepore’s request is “not

narrowly tailored,” ECF No. 31 at 13. The argument fails for similar reasons. The government

again inaptly relies on Aisenberg, as well as In re Shepard, 800 F. Supp. 2d 37 (D.D.C. 2011); In

re Nichter, 949 F. Supp. 2d 205 (D.D.C. 2013); and Craig, 131 F.3d 99. As noted above,

Aisenberg incorporated a different standard of review than appropriate here and, unlike Professor

Lepore, petitioners in that case did not need further information to achieve their ends.

       In re Shepard is equally off point. In that case, the court evaluated overbreadth in a

context where secrecy interests were still present, and compared the petition it was considering

with that in In re Kutler, 800 F. Supp. 2d 42. In making its comparison, the court explained that

“[t]he Kutler petition . . . include[ed] several declarations demonstrating the minimal need to

maintain the secrecy of President Nixon’s testimony. Mr. Shepard has submitted only one

declaration—his own—which does nothing to dispel the Court’s secrecy concerns.” In re



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Shepard, 800 F. Supp. 2d at 40. Recognizing the significance of the privacy concerns, the

government’s comparison of Shepard to the present case loses force. Professor Lepore has

provided eight declarations that each voice support for disclosure, ECF No. 5-12, and the

government in response advances no specific secrecy interest at all.

         Similarly, the court in In Re Nichter, in denying a petition in the interest of secrecy,

explained that “[d]isclosure may be appropriate following the death of all persons named in the

grand jury materials. The Court would also reconsider its ruling if it was presented with

evidence that the named individuals had consented to release.” 949 F. Supp. 2d at 213 n.14. At

the very least, In Re Nichter supports the release of information pertaining to the eight people

who have submitted declarations supporting Professor Lepore’s petition.

         Finally, the government references the Second Circuit’s observation that “there are

obvious differences between releasing one witness’s testimony, the full transcript, or merely the

minutes of the proceeding.” Craig, 131 F.3d at 106. Quite right. But the question here is not

whether there is a difference, but rather what that difference suggests the Court should do in this

case.4 The totality of the nine Craig factors supports disclosure.

         The Second Circuit in Craig made clear that circumstances like those before the Court

can warrant disclosure of grand jury records: “Lest there be any doubt in the matter . . . we today

hold that there is nothing . . . that prohibits historical interest, on its own, from justifying release

of grand jury material in an appropriate case.” Id. at 105. And the Seventh Circuit has agreed,

holding that “the existence of Rule 6 does not, by itself, eliminate the court’s power to address

situations that the Rule does not describe.” Carlson, 837 F.3d at 763. This Court should



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 The question of overbreadth in this case is inherently factual. Professor Lepore contends that her request is framed
appropriately given the circumstances. If the Court wishes to evaluate whether the scope of her request is proper, in
camera or ex parte proceedings should be ordered.

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likewise vindicate the public interest in these records of immense historical significance.

Nothing the government argues compels a contrary result.

                                          CONCLUSION

       For the reasons stated and on the authorities cited in this memorandum of law, Professor

Lepore respectfully requests that this Court deny the government’s motion to dismiss and grant

the petition for an order directing release.



Dated: July 12, 2019

                                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I, Jonathan M. Albano, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants.

                                               /s/ Jonathan M. Albano
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Dated: July 12, 2019                           Morgan, Lewis & Bockius LLP




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